Case 6:18-bl<-01876-KS.] Doc 44 Filed 07/25/18 Page 1 of 3

Fill in this information to identify your oase:

Debtor1 Lisa Diane Garbers
Firsl Narne Mldd|e Name Last Name

 

Debtor 2
(Spouee |f, filing) Flrsl Name Midd|e Name Last Narne

 

United States Bankruptcy Court for the: lV||DDLE D|STR|CT OF FLOR|DA

 

Cese number 6:18-bk-01876
(ifknuwn) |:| Check if this is an
amended filing

 

 

 

Offioial Form 108

Statement of intention for individuals Filing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:
- creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever ls earlier, unless the court extends the time for cause. ‘(ou must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying-correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possib|e. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number {if known).

List Your Credit.ors Who Have Secured Claims

1. For any creditors that you listed in Part1 of Schedu|e D: Oreditors Who Have C|aims Securecl by Property (Otficial Form 106D), fill in the
information below. H _ _ _ _ _ _ _ __ _ _ _ _ _

'- "_.lden_tif_y` the creditor and the property that is collateral __ g what do y`ou_ intend to do with the property that _ Did you claim the property_.

' f f 2 ` l -' "_ - ' 1" ._seoures_a'debt?' j ' . - , ~ . - _ l as-exenipt ori_;S'cheduie'-C?

Cred|fOr'S TD Auto Finance El Surrender the properly. l NO
name! Ei Retaln the property and redeem it.
' l Retain the property and enter into a m Y@S

DSSCriniOH Of 2018 Kia Sou| 2,800 miles
property V|N #KNDJX3AA7J7898047
securing debt: _
Debtor bought car in January
2018 after trading in 2015 Kia

Reafn'rmat."on Agreement.
L_.l Retain the property and [exp|ain]:

 

 

Soul.
Credltor'€ Wi|mington Sav Fund Soc, FSB l Surrender the property l No
namel |:| Retain the property and redeem'it.

l:i Retain the property and enter into a n Yes

D€SCrilJtiOri Of 104 Rose Briar Dr. Longwood, Ream’rmation Agreement.

FL 32750-2733 Seminole

County - Final Judgment in

Seminoie County FL, Case #

2017-CA-000469 - DlSPUTED AS

TO DEFERRED UPB iN FJ THAT

WAS FORGlVEN PER

NAT|ONAL MTG SETTLEN|ENT

PARCEL lD

Oflicial Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 1

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` D€ber 1 Lisa Diane Garbers CHSE number (ifkrwwn) 6:18-bk»01876

 

 

iJl`CPe|'fy 36-20-29-508-0P00~0040 l:l Retain the property and [explain]:
securing debt:

 

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedu|e G: Executory Contracts and Unexplred Leases (Officlal Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are stil|' ln effect; the lease period has not yet ended.
‘{0u may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

prescribe yeurunexpire'd personalproperty. leases _ . ` - . ‘i ` ` v Wiil the lease be.assnmed'?i
Lessor's name: m No
Description of leased

Property: m Yes
Lessor‘s name: ij No
Desoription of leased

Property: |:l Yes
Lessor's name: |:| No
Description of leased

Property: i:| Yes
Lessors name: |:| NO
Description of leased

Property: |;l Yes
Lessor's name: m No
Description of leased

Property: l:l Yes
Lessor's name: |___| NO
Desoription of leased

Properiy: l:l Yes
Lessor's name: m No
Desoription of leased

Property: l:l Yes

Sign Be|ow

Under penalty of perjury, l declare that | have indicated my intention about any r perty\ of estate that s cures a debt and %am personal

property that' is subject to an unexpired lease. ( '
X lsi Lisa Diane Garbersr,)\/ )( M/ W/)//!,§w)/
` Signa§ure of De,l:i'tor 2

Lisa Diane Garbers `
Signature of Debtor 1

Date July 24, 2018 Daie 7/2(/“//%\

 

  
 

Ofiicial Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 2

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UNITED STATES BANKRUPTCY C()URT
MII)DLE DISTRICT OF FLORI])A
ORLANDO DIVISI()N
In Re:

Lisa Diane Garbers Chapter: 13
Case No. 6:18-bk-01876-KSJ
Debtor(s).

 

CERTIFICATE OF SERVICE FOR DEB'I`OR’S STA’I`EME_NT OF INTENTIONS
1 HEREBY CERT[FY that copies of the foregoing chtor’s Statement of Intentions have
been furnished by regular U.S. Mail or electronically via ECF to Trustee Laurie K Weatherford,
PO Box 3450, Winter Parlc, FL 32790; United States Trustce, Gcorge C Young Federal Building,
400 West Washington Street, Suite 1100, Orlando, FL 32801, Debtor Lisa Diane Garbers, 104

Rose Briar Drive, Longwood, FL 32750, this 25th clay of July, 2018.

By: /s/ Wayne B. Spivak

Wayne B. Spivak, Esq.

Florida Bar No. 38191

.iustin Clark & Associates, PLLC
Attorney for Debtor

500 Winderley Place, Unit 100
Maitland, FL 32751

Tel: 321-282-1055

Fax: 321-282~1051

Ernail: Wspivak@vouhavepower.com

